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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                           Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.


                   PARTIES’ JOINT PROPOSED SCHEDULING ORDER


       The United States of America and Concord Management and Consulting LLC propose

the attached revised pretrial scheduling order based on the template provided by the Court on

August 16, 2019 (Doc. 180).

                                     Respectfully submitted,


JOHN C. DEMERS                                             JESSIE K. LIU
Assistant Attorney General for National Security           United States Attorney

By: /s/                                                    By: /s/
Heather N. Alpino                                          Jonathan Kravis
U.S. Department of Justice                                 Deborah Curtis
National Security Division                                 Kathryn Rakoczy
950 Pennsylvania Ave. NW                                   555 Fourth Street NW
Washington, D.C. 20530                                     Washington, D.C. 20530
Telephone: (202) 514-2000                                  Telephone: (202) 252-6886
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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

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           v.
                                        Crim. No. 18-CR-32-2 (DLF)
CONCORD MANAGEMENT AND
CONSULTING LLC,

           Defendant.


                                SCHEDULING ORDER


    It is ORDERED that the following schedule shall apply in this case:



    1. The defendant shall file any motion(s) to suppress by November 4, 2019. The

       government’s opposition(s) shall be filed by November 18, 2019. The defendant’s

       reply/replies shall be filed by November 25, 2019.

    2. The government shall complete any final discovery and Brady notice shall be October

       18, 2019.

    3. The parties shall jointly file proposed jury instructions by October 21, 2019. The

       joint filing shall specify the instructions on which the parties agree and the

       instructions on which the parties disagree, with specific objections noted below each

       disputed instruction and supporting legal authority.

    4. The government shall provide expert notice by November 15, 2019. The defense

       shall provide expert notice by December 13, 2019.

    5. The government shall provide Rule 404(b) notice by November 15, 2019. The

       defendant shall respond to any Rule 404(b) notice by December 13, 2019.
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      6. The government shall provide the defense with an exhibit list and copies of exhibits

         by January 15, 2020.

      7. The government shall file any motion under the Classified Information Procedures

         Act by January 22, 2020.

      8. The parties shall jointly file a proposed voir dire and jury questionnaire by January

         29, 2020. The joint filing shall specify the questions on which the parties agree, and

         the questions on which the parties disagree, with specific objections noted below each

         disputed question and supporting legal authority.

      9. The government shall provide the defense with a witness list and any Giglio and

         Jencks material by February 3, 2020.

      10. The defense shall provide the government with a witness list, exhibit list, and copies

         of exhibits by February 10, 2020.

      11. Each party shall serve any expert reports by December 13, 2019.

      12. Motions in limine shall be filed by February 7, 2020. Oppositions to motions in

         limine shall be filed by February 21, 2020. Replies shall be filed by February 28,

         2020.

      13. Any stipulations shall be filed by March 2, 2020.

      14. The Court will hold a pretrial conference on March 9, 2020.

      15. Trial will begin on April 6, 2020.

      SO ORDERED.



                                                   DABNEY FRIEDRICH
                                                   United States District Judge

Dated: ____________________
